                                        Case 4:18-cv-01885-HSG Document 487 Filed 09/24/18 Page 1 of 7




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7
                                       KONINKLIJKE PHILIPS N.V., et al.,
                                   8                                                Case No. 18-cv-01885-HSG
                                                     Plaintiffs,
                                   9                                                ORDER GRANTING IN PART AND
                                              v.                                    DENYING IN PART PLAINTIFF’S
                                  10                                                MOTION TO CONSOLIDATE AND
                                       ACER INC., et al.,                           DENYING MICROSOFT’S CROSS-
                                  11                                                MOTION TO SEVER
                                                     Defendants.
                                  12                                                Re: Dkt. Nos. 442, 454
Northern District of California
 United States District Court




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                                  14
                                       KONINKLIJKE PHILIPS N.V., et al.,
                                  15                                                Case No. 18-cv-01886-HSG
                                                     Plaintiffs,
                                  16
                                              v.
                                  17
                                       ASUSTEK COMPUTER INC., et al.,
                                  18                                                Re: Dkt. Nos. 398, 411
                                                     Defendants.
                                  19

                                  20

                                  21
                                        KONINKLIJKE PHILIPS N.V., et al.,
                                  22                                                 Case No. 18-cv-01887-HSG
                                                      Plaintiffs,
                                  23
                                               v.
                                  24
                                        HTC CORP, et al.,
                                  25
                                                      Defendants.
                                  26
                                  27

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                                            Case 4:18-cv-01885-HSG Document 487 Filed 09/24/18 Page 2 of 7



                                           KONINKLIJKE PHILIPS N.V., et al.,
                                   1                                                        Case No. 18-cv-01888-HSG
                                                        Plaintiffs,
                                   2
                                                  v.
                                   3
                                           VISUAL LAND, INC.,
                                   4                                                        Re: Dkt. Nos. 372, 382
                                                        Defendants.
                                   5

                                   6
                                           KONINKLIJKE PHILIPS N.V., et al.,
                                   7                                                        Case No. 18-cv-01889-HSG
                                                        Plaintiffs,
                                   8
                                                  v.
                                   9
                                           DOUBLE POWER TECHNOLOGY, INC.,
                                  10       et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13
                                           KONINKLIJKE PHILIPS N.V., et al.,
                                  14                                                        Case No. 18-cv-01890-HSG
                                                        Plaintiffs,
                                  15
                                                  v.
                                  16
                                           YIFANG USA, INC.,                                Re: Dkt. Nos. 352, 364
                                  17
                                                        Defendants.
                                  18
                                  19

                                  20            Pending before the Court is a motion to consolidate filed by Plaintiffs Koninklijke Philips

                                  21   N.V. and U.S. Philips Corp. (collectively, “Philips”), Dkt. No. 4421 (filed publicly at Dkt. No.

                                  22   450-3), and a cross-motion to sever filed by Defendant Microsoft Corp. (“Microsoft”), Dkt. No.

                                  23   454. The Court finds this matter appropriate for disposition without oral argument and the matter

                                  24   is deemed submitted. See Civil L.R. 7-1(b). For the reasons discussed below, the Court GRANTS

                                  25   IN PART and DENIES IN PART Plaintiffs’ motion to consolidate and DENIES Defendant

                                  26   Microsoft Corporation’s cross-motion to sever.

                                  27
                                       1
                                  28    Unless otherwise indicated, all docket citations in this order reference the docket in Case Number
                                       18-cv-01885-HSG.
                                                                                         2
                                            Case 4:18-cv-01885-HSG Document 487 Filed 09/24/18 Page 3 of 7



                                            I.   BACKGROUND
                                   1
                                                 In December 2015, Plaintiffs Koninklijke Philips N.V. and U.S. Philips Corp.
                                   2
                                       (collectively, “Philips”) sued defendants Acer Inc. and Acer America Corp. (“Acer”), ASUSTeK
                                   3
                                       Computer Inc. and ASUS Computer International (“ASUS”), HTC Corp and HTC America, Inc.
                                   4
                                       (“HTC”), Visual Land, Inc. (“Visual Land”), Double Power Technology, Inc. (“Double Power”),
                                   5
                                       and YiFang USA, Inc. d/b/a/ E-Fun Inc. (“YiFang”), alleging patent infringement involving
                                   6
                                       eleven patents2 (the “patents-in-suit”). Dkt. No. 1. In November 2016, Microsoft intervened in
                                   7
                                       the actions against Acer, ASUS, Visual Land, Double Power3, and YiFang. Dkt. No. 69. Philips
                                   8
                                       then counterclaimed against Microsoft for infringement of nine of the patents-in-suit. Dkt. No. 86.
                                   9
                                                 Philips contends that the accused Acer, ASUS, Visual Land, and YiFang products that run
                                  10
                                       a Microsoft Windows operating system infringe several of the patents-in-suit in the same way.
                                  11
                                       Dkt. No. 450-3 at 10–11. All other accused products run a non-Windows based operating system,
                                  12
Northern District of California




                                       with some running the Android operating system, and others running the Chrome operating
 United States District Court




                                  13
                                       system. Dkt. No. 450-3 at 13. In the pending motion, Plaintiffs move to consolidate all
                                  14
                                       defendants with products that run the Microsoft Windows operating system for the purpose of
                                  15
                                       multiple joint trials on those products. Dkt. No. 450-3. Defendant Microsoft, in opposition,
                                  16
                                       moves to sever all claims against Microsoft from the cases in which Microsoft intervened. Dkt.
                                  17
                                       No. 454.
                                  18
                                           II.   LEGAL STANDARD
                                  19
                                                 A.   Trial Consolidation under the AIA
                                  20
                                                 The America Invents Act (AIA), 35 U.S.C. § 299, specifically addresses joinder and
                                  21
                                       consolidation of parties in patent suits:
                                  22
                                                        parties that are accused infringers may be joined in one action as
                                  23                    defendants or counterclaim defendants, or have their actions
                                                        consolidated for trial, only if--
                                  24

                                  25   2
                                         The Philips suits allege infringement of certain claims of U.S. Patent Nos. RE44,913 (“the ’913
                                  26   patent”); 6,690,387 (“the ’387 patent”); 7,184,064 (“the ’064 patent”); 7,529,806 (“the ’806
                                       patent”); 5,910,797 (“the ’797 patent”); 6,522,695 (“the ’695 patent”); RE44,006 (“the ’006
                                  27   patent”); 8,543,819 (“the ’819 patent”); 6,772,114 (“the ’114 patent”); RE43,564 (“the ’564
                                       patent”); and 9,436,809 (“the ’809 patent”).
                                       3
                                  28     Double Power and all other defendants in the Double Power action other than Microsoft were
                                       voluntarily dismissed on June 19, 2018. 4:18-cv-01889 Dkt. No. 326.
                                                                                          3
                                           Case 4:18-cv-01885-HSG Document 487 Filed 09/24/18 Page 4 of 7



                                                      (1) any right to relief is asserted against the parties jointly, severally,
                                   1                  or in the alternative with respect to or arising out of the same
                                                      transaction, occurrence, or series of transactions or occurrences
                                   2                  relating to the making, using, importing into the United States,
                                                      offering for sale, or selling of the same accused product or process;
                                   3                  and
                                                      (2) questions of fact common to all defendants or counterclaim
                                   4                  defendants will arise in the action.
                                   5          35 U.S.C.A. § 299(a).

                                   6          Joinder in patent cases is governed by Federal Circuit law “because joinder in patent cases

                                   7   is based on an analysis of the accused acts of infringement, and this issue involves substantive

                                   8   issues unique to patent law.” In re EMC Corp., 677 F.3d 1351, 1354 (Fed. Cir. 2012). Such

                                   9   “[j]oinder of independent defendants is only appropriate where the accused products or processes

                                  10   are the same in respects relevant to the patent. But the sameness of the accused products or

                                  11   processes is not sufficient. Claims against independent defendants (i.e., situations in which the

                                  12   defendants are not acting in concert) cannot be joined under [pre-AIA] Rule 20's transaction-or-
Northern District of California
 United States District Court




                                  13   occurrence test unless the facts underlying the claim of infringement asserted against each

                                  14   defendant share an aggregate of operative facts.” Id. at 1359. “[E]ven if a plaintiff's claims arise

                                  15   out of the same transaction and there are questions of law and fact common to all defendants,

                                  16   district courts have the discretion to refuse joinder in the interest of avoiding prejudice and delay,

                                  17   ensuring judicial economy, or safeguarding principles of fundamental fairness.” Id. at 1360; see

                                  18   also In re Nintendo Co., Ltd., 544 F. App'x 934, 939 (Fed. Cir. 2013) 4 (noting that Section 299

                                  19   requirements are “necessary, but not sufficient, conditions for joinder”).

                                  20          B.    Consolidation Under FRCP 42(a)
                                  21          Although Section 299 governs joinder of parties and consolidation for purposes of trial, it

                                  22   does not set requirements for pre-trial consolidation. See Auto-Dril, Inc. v. Canrig Drilling Tech.,

                                  23   Ltd., No. 6:15-CV-00096, 2015 WL 12780793, at *4 (W.D. Tex. June 29, 2015) (noting that

                                  24   “[n]umerous federal district courts across the country have construed § 299 . . . to allow

                                  25   consolidation for pre-trial purposes,” and collecting cases); see also Freeman v. Delta Air Lines,

                                  26   Inc., No. C 13-04179 JSW, 2014 WL 5830246, at *6 (N.D. Cal. Nov. 10, 2014) (“[T]he AIA does

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                                  28    As an unpublished Federal Circuit decision, In re Nintendo Co., Ltd. is not precedent, but may be
                                       considered for its persuasive value. See Fed. R. App. P. 32.1; CTA9 Rule 36-3.
                                                                                        4
                                          Case 4:18-cv-01885-HSG Document 487 Filed 09/24/18 Page 5 of 7




                                   1   not refer to pre-trial consolidation.”). “In exercising its discretion, the district court should keep in

                                   2   mind that even if joinder is not permitted under Rule 20, the district court has considerable

                                   3   discretion to consolidate cases for discovery and for trial under Rule 42 where venue is proper and

                                   4   there is only a common question of law or fact.” In re EMC Corp., 677 F.3d 1351, 1360 (Fed. Cir.

                                   5   2012) (internal quotation marks omitted).

                                   6          Under Federal Rule of Civil Procedure 42(a), a court may consolidate actions if they

                                   7   “involve a common question of law or fact.” The district court enjoys “broad discretion under this

                                   8   rule to consolidate cases pending in the same district.” Inv’rs Research Co. v. U.S. Dist. Court for

                                   9   Cent. Dist. of Cal., 877 F.2d 777, 777 (9th Cir. 1989). In exercising this “broad discretion,” the

                                  10   district court “weighs the saving of time and effort consolidation would produce against any

                                  11   inconvenience, delay, or expense that it would cause.” Huene v. United States, 743 F.2d 703, 704

                                  12   (9th Cir.), on reh’g, 753 F.2d 1081 (9th Cir. 1984).
Northern District of California
 United States District Court




                                  13          C.    Severance
                                  14          Federal Rule of Civil Procedure 42(b) provides that: “For convenience, to avoid prejudice,

                                  15   or to expedite and economize, the court may order a separate trial of one or more separate issues,

                                  16   claims, crossclaims, counterclaims, or third-party claims.” Fed. R. Civ. P. 42(b). The Court has

                                  17   broad authority under Rule 42(b) to separate parties, claims, and issues. Robert Bosch, LLC v.

                                  18   Pylon Mfg. Corp., 719 F.3d 1305, 1317–18 (Fed. Cir. 2013) (as a “general matter,” courts may

                                  19   bifurcate issues in patent cases under Rule 42(b)). In fact, one leading treatise has noted that,

                                  20   “Rule 42(b) . . . giv[es] the district court virtually unlimited freedom to try the issues in whatever

                                  21   way trial convenience requires.” Charles A. Wright, et al., 9A Federal Practice & Procedure

                                  22   (Trials) § 2387 (3d ed. rev. 2015).

                                  23   III.   DISCUSSION
                                  24          A.    Plaintiffs’ Motion to Consolidate
                                  25               i.   Pre-Trial Consolidation
                                  26          The Court recognizes the massive logistical issues presented by each of these cases

                                  27   proceeding independently, and, in its discretion under Rule 42(a), consolidates all six cases for all

                                  28   pre-trial purposes.
                                                                                           5
                                          Case 4:18-cv-01885-HSG Document 487 Filed 09/24/18 Page 6 of 7



                                                   ii.   Plaintiffs’ Proposed Trial Consolidation
                                   1
                                               Plaintiffs contend that the “infringement case is [] essentially the same for all Defendants
                                   2
                                       as it pertains to their Windows-Based Products.” Dkt. No. 450-3 at 3. Plaintiffs propose two pairs
                                   3
                                       of trials, the first pair addressing products that run the Windows operating system and involving
                                   4
                                       defendants Microsoft, Acer, ASUS, Visual Land, and YiFang, and the second pair involving only
                                   5
                                       defendant HTC. Dkt. No. 450-3 at 4. Plaintiffs then propose an undetermined number of further
                                   6
                                       trials addressing various Acer, ASUS, Visual Land, and YiFang products that use the Android or
                                   7
                                       Chrome operating systems. Id. Plaintiffs’ motion for consolidation is directed exclusively to the
                                   8
                                       first pair of proposed trials. Dkt. No. 475 at 1.
                                   9
                                               It is unnecessary for the Court to evaluate whether Section 299 permits trial consolidation
                                  10
                                       for five of the six defendants regarding some subset of the accused products and nine of the eleven
                                  11
                                       patents-in-suit, because the Court finds Plaintiffs’ proposal to be thoroughly unworkable and
                                  12
Northern District of California




                                       fundamentally less efficient than the default practice of each case proceeding to trial
 United States District Court




                                  13
                                       independently. The Court, in its discretion, therefore DENIES Plaintiffs’ motion with respect to
                                  14
                                       trial consolidation.
                                  15
                                              B.     Defendant Microsoft’s Cross-Motion to Sever
                                  16
                                               Microsoft requests that the Court sever all of Plaintiffs’ claims against Microsoft and
                                  17
                                       schedule a first trial addressing only Windows-based infringement. Dkt. No. 454 at 16–25. The
                                  18
                                       Court need not sever claims against Microsoft to schedule such a trial. Case Number 4:18-cv-
                                  19
                                       01889-HSG involves only Philips and Microsoft, and there are no apparent objections to
                                  20
                                       scheduling trial between those parties before any other trial in these matters. Microsoft’s only
                                  21
                                       further argument for severance is that it should not be subjected to multiple trials, as it would be
                                  22
                                       under Plaintiffs’ proposed trial consolidation. Dkt. No. 454 at 24–25. Given that the Court does
                                  23
                                       not adopt Plaintiffs’ proposed consolidation plan, and because Microsoft intervened in each of the
                                  24
                                       five cases from which it now requests to be severed, the possibility that Microsoft will be
                                  25
                                       subjected to multiple trials does not persuade the Court to sever Microsoft’s claims at this time.
                                  26
                                       The Court therefore DENIES Defendant Microsoft’s cross-motion to sever.
                                  27

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                                         Case 4:18-cv-01885-HSG Document 487 Filed 09/24/18 Page 7 of 7



                                       IV.    CONCLUSION
                                   1
                                              Good cause appearing therefor, the cases captioned Koninklijke Philips N.V. v. Acer Inc.,
                                   2
                                       Case No. 4:18-cv-01885; Koninklijke Philips N.V. v. ASUSTeK Computer Inc., Case No. 4:18-cv-
                                   3
                                       01886; Koninklijke Philips N.V. v. HTC Corp., Case No. 4:18-cv-01887; Koninklijke Philips N.V.
                                   4
                                       v. Visual Land, Inc., Case No. 4:18-cv-1888; Koninklijke Philips N.V. v. Double Power Tech.,
                                   5
                                       Inc., Case No. 4:18-cv-01889; and Koninklijke Philips N.V. v. YiFang USA, Inc., Case No. 4:18-
                                   6
                                       cv-01890 are hereby consolidated for all pre-trial purposes. The earliest filed civil action, Case
                                   7
                                       No. 4:18-cv-01885, shall serve as the lead case. The clerk is directed to administratively close the
                                   8
                                       later-filed civil actions, Case Nos. 4:18-cv-01886, 4:18-cv-01887, 4:18-cv-01888, 4:18-cv-01889,
                                   9
                                       and 4:18-cv-01890. All future filings should be done in the lead case (Case No. 4:18-cv-01885)
                                  10
                                       only and should be captioned “In Re Koninklijke Philips Patent Litigation.”
                                  11
                                              At the upcoming case management conference on October 2, 2018, the parties should be
                                  12
Northern District of California




                                       prepared to discuss a schedule and sequence for the trials in these cases.
 United States District Court




                                  13
                                              IT IS SO ORDERED.
                                  14
                                       Dated: 9/24/2018
                                  15
                                                                                        ______________________________________
                                  16                                                    HAYWOOD S. GILLIAM, JR.
                                                                                        United States District Judge
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